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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                        )
                                                        )
 SMARTMATIC USA CORP., SMARTMATIC                       )
 INTERNATIONAL HOLDING B.V., and SGO                    )
 CORPORATION LIMITED,                                   )
                                                        )
        Plaintiffs,                                     )   Case No. 21-cv-02995-CJN
                                                        )
                v.                                      )
                                                        )
 SIDNEY POWELL,
                                                        )
        Defendant.                                      )
                                                        )

                                 CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of SMARTMATIC’S MOTION TO STAY

PROCEEDINGS and PROPOSED ORDER were served via mail on November 24, 2021 to the

following:

Sidney Powell
3831 Turtle Creek Boulevard, Apartment 5B
Dallas, Texas 75219-4495

Howard Kleinhendler, Esq.
369 Lexington Ave., 12th Floor
New York, New York 10017
howard@kleinhendler.com

       I further certify that courtesy copies of the above listed documents were emailed to Mr.

Kleinhendler the same day at the above email address.

                                                   /s/ Lauren C. Tortorella
                                                   Lauren C. Tortorella (pro hac vice)
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